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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                May 22, 2025
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk

                               GALVESTON DIVISION
 ARTYEMARIE F., 1                          §
                                           §
         Plaintiff.                        §
                                           §
 V.                                        §                3:24-cv-95
                                           §
 COMMISSIONER OF SOCIAL                    §
 SECURITY,                                 §
                                           §
 Defendant.                                §


                  ORDER ADOPTING MAGISTRATE JUDGE’S
                  MEMORANDUM AND RECOMMENDATION

        On June 4, 2024, this case was referred to United States Magistrate Judge

Andrew M. Edison under 28 U.S.C. § 636(b)(1). Dkt. 7. Judge Edison filed a

memorandum and recommendation, on December 20, 2024, recommending that

the Commissioner’s decision be reversed and the matter remanded to the

Commissioner for further proceedings. Dkt. 14. I adopted that Memorandum and

Recommendation, issued a Final Judgment, and remanded this case on January 7,

2025. Dkts. 15, 16. On April 8, 2025, Plaintiff filed a motion for attorney’s fees. Dkt.

19. On May 6, 2025, Judge Edison filed a Memorandum and Recommendation

recommending that Plaintiff’s motion for attorney’s fees be granted. Dkt. 24.




1 On May 1, 2023, the Committee on Court Administration and Case Management of the

Judicial Conference of the United States issued a memorandum recommending that
courts adopt a local practice of using only the first name and last initial of any non-
government party in Social Security opinions.
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      On May 9, 2025, the Commissioner filed its objections to the memorandum

and recommendation. See Dkt. 25. In accordance with 28 U.S.C. § 636(b)(1)(C),

this court is required to “make a de novo determination of those portions of the

[magistrate judge’s] report or specified proposed findings or recommendations to

which objection [has been] made.” After conducting this de novo review, the court

may “accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” Id.; see also Fed. R. Civ. P.

72(b)(3).

      The court has carefully considered the objections; the memorandum and

recommendation; the pleadings; and the record. The court accepts Judge Edison’s

memorandum and recommendation and adopts it as the opinion of the court. It is

therefore ordered that:

      (1)   Judge Edison’s memorandum and recommendation (Dkt. 24) is
            approved and adopted in its entirety as the holding of the court; and

      (2)   Plaintiff’s Motion for Attorney Fees Under the Equal Access to Justice
            Act (Dkt. 19) is granted; and

      (3)   The Commissioner is ordered to pay the sum of $15,033.55 in
            attorney’s fees and $405.00 in costs to Plaintiff’s counsel, Tower Law
            Group.

      SIGNED on Galveston Island this 22nd day of May 2025.


                                        ______________________________
                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE




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